            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                              1:13cr25


UNITED STATES OF AMERICA,                   )
                                            )
      v.                                    )
                                            )            ORDER
2) CRISTIAN NEVAREZ BELTRAN                 )
3) JORGE ALBERTO BERNAL,                    )
                                            )
          Defendants.                       )
____________________________                )



      THIS MATTER came on to be heard before the undersigned on October

25, 2013 pursuant to a Motion to Suppress and Request for an Evidentiary Hearing

(#27) filed by Defendant Beltran, and the Motion to Adopt Motion Made by

Codefendant (#45) made by Defendant Bernal. At the call of the matter on for

hearing it appeared that Defendant Beltran was present with his counsel Fredilyn

Sison and Defendant Bernal was present with his attorney Eric J. Foster. The

Government was represented by Assistant United States Attorney Tom Kent. At

the call of the matter, Ms. Sison presented a Motion to Withdraw which the

undersigned allowed by a separate Order (#55).

      There was then presented to the Court the issue of translation of telephone


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conversation recordings and other conversations allegedly made between some of

the defendants and other persons concerning the sale of controlled substances

which were conducted in the Spanish language.            It was explained to the

undersigned by the translators that were present, it would be necessary for a third

translator to perform a translation of the recordings from Spanish into English and

to prepare a transcript of this translation.    It was further explained that the

translators that were present in the courtroom for the hearing of the motions to

suppress could not ethically perform both the translations in the courtroom and a

translation of what was being stated by a witness and also perform a translation of

the recordings which the Court is advised, are going to be introduced into evidence

by either the Government or the Defendants.

      As a result of receiving this information, the undersigned will enter an Order

of the Court’s own motion directing that the Clerk of this Court retain the services

of a translator who can translate to content of the alleged recordings from the

Spanish language into the English language and the translator further be directed to

prepare a written transcript of the recordings translating the recordings from

Spanish into English. The translator shall also be directed to prepare a written

transcript of the recordings in the Spanish language for the benefit of each of the

Defendants.


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      The Court will further order that the Assistant United States Attorney and

counsel for the Defendant Beltran and counsel for Defendant Bernal shall deliver

to the translator selected all recordings that any of those parties anticipate will be

introduced into evidence so that the translation and transcription may take place.

                                       ORDER

      IT IS, THEREFORE, ORDERED:

      1)     That Liz Velazquez is hereby selected by the Court as a translator to

translate the various recordings referenced herein that either the Government or

Defendants desires to present into evidence in regard to the hearings of the

motions. Ms. Velazquez shall translate the recordings from Spanish into English

and prepare a written transcript of the recordings in the English language. Ms.

Velazquez shall also prepare a written transcript of the recordings in the Spanish

language for the benefit of each of the Defendants;

      2)     That the Government and the Defendants shall provide to Ms.

Velazquez all recordings that any of those parties desire to be presented into

evidence at the hearing of the motions to suppress so that Ms. Velazquez can

translate the recordings from Spanish into English and prepare a written transcript

of those recordings in the English language and prepare a written transcript of the

recordings in the Spanish language. Those recordings shall be delivered to Ms.


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Velazquez on or before November 12, 2013.

      3)     That Ms. Velazquez shall then translate the recordings from Spanish

into English and prepare a written transcript of that translation in the English

language and a written transcript of the recordings in the Spanish language and

provide a copy of such transcripts to the Court on or before November 26, 2013.

Should Ms. Velazquez need further time to prepare the transcripts, then she is

directed to contact the office of the Clerk of this Court with such request so that the

Court can act upon it.

      After the written transcripts have been provided, both in the English

language and the Spanish language, then the Court shall schedule a hearing in

regard to the motions to suppress.

                                                       Signed: November 5, 2013




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